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                           IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                  CENTRAL DIVISION

UNITED STATES OF AMERICA                                   JUDGE: Kristine G. Baker
Plaintiff                                                  REPORTER: Elaine Hinson
Attorneys: Stephanie Mazzanti and Alex Morgan              CRD: Tracy Washington
                                                           DATE: June 1-9, 2022

v.                            Case No. 4:20-cr-00025 KGB

JOE DAVID MAY
Defendant
Attorney: Shelly Koehler

                                MINUTES – JURY TRIAL

 TIME      DAY 1, Wednesday, June 1, 2022 (Court Reporters: Elaine Hinson and Karen
           Dellinger)
 9:11      Pretrial conference begins; Court takes up summary of indictment, cautionary
           instruction proposed by both sides; request for redaction with respect to transmittal
           emails; overflow courtroom for observers; Potential juror issues;
 9:40      Recess
 10:02     Court back in session
 10:05     Recess
 10:29     Court back in session; Rule invoked;
 10:33     Potential jurors enter courtroom;
 10:36     32 names called
 10:39     The Court gives preliminary instructions;
 10:47     The Court begins voir dire;
 11:53     Potential Jurors dismissed for break;
 11:54     Court in session outside the presence of the potential jurors
 11:55     Recess;
 12:09     Court back in session; The Court continues with voir dire
 1:29      The government begins voir dire;
 1:37      The defense counsel begins voir dire;
 1:58      The Court asked follow-up questions;
 1:59      Jurors dismissed for break for peremptory strikes;
 2:01      Court in session outside the presence of the jury; Counsel exercises peremptory
           strikes;
 2:02      Recess;
 2:39      Court back in session outside the presence of the jury panel; The Court discusses
           schedule for the day;
 2:41      Potential jurors return to courtroom;
 2:45      12 jurors and one alternate seated and sworn;
 2:46      Remaining potential jurors dismissed from further service;
 2:47      Jury dismissed for lunch break;
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2:48      Court in session outside the presence of the jury;
2:50      Recess;
3:48      Court back in session outside the presence of the jury;
3:53      Jury returned to jury box;
3:53      The Court reads preliminary instructions to jury
4:14      Jury dismissed to return on 06/02/222 at 9:00 a.m.
4:15      Court in session outside the presence of the jury; The Court takes up cooperation and
          truthfulness;
4:19      Recess;

TIME      DAY 2, Thursday, June 2, 2022 (Court Reporters: Karen Dellinger and Elaine
          Hinson)
9:07      Court in session outside the presence of the jury;
9:08      Jury returned to jury box;
9:09      Government begins opening statements
10:08     Jury dismissed for morning recess;
10:10     Court in session outside the presence of the jury
10:11     Recess
10:27     Court back in session outside the presence of the jury;
10:28     Jury returned to jury box;
10:29     Defense begins opening statements
10:40     Government calls Name No. 8 as Government Witness No. 1; Direct examination by
          Alex Morgan begins; Government’s Exhibits 1a, 337, 360, 52, 338, 342, 359, 363,
          313, 341, and 345 admitted;
12:09     Jurors dismissed for lunch break;
12:09     Court in session outside the presence of the jury; The Court takes up matters
          regarding Government’s upcoming exhibits
12:18     Recess;
1:26      Court back in session outside the presence of the jury;
1:40      Jury returned to jury box; Direct examination of Government Witness No. 1
          continues; Government’s Exhibits 307, 318, 319, 340, 305, 317, 347, 73, 169, 185,
          241, 309, 310, 48, 306, 308, 315, 320, 75, 322, 324, 191, 61, 54, 58, 65, 67, 69, 71,
          72, 74, 80, 81, 86, 91, 93, 95, 100, 103, 107, 109, 113, 114, 116, 122, 123, 124, 129,
          130, 131, 132, 134, 138, 141, 144, 147, 148, 154, 155, 172, 175, 181, 182, 184, 187,
          195, 196, 197, 198, 200, 208, 216, 220, 225, 228, 233, 236, 243, 245-281, 284-295,
          and 298-304 admitted
3:16      Jury dismissed for afternoon break;
3:17      Recess
3:35      Court back in session;
3:35      Jury returned to jury box; Direct examination continues; Government Exhibits 311,
          312, 316, 321, 323, 87, 88, 237, 62, 63, 35, 36a, 36b, 36c, 336, 337, 314, 77, 325-
          330, 331-332, and 158 admitted
4:32      Jury dismissed for the day to return at 9:00 on 06/03/2022;
4:33      Court in session outside the presence of the jury;
4:33      Recess


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4:52      Court in session outside the presence of the jury; The Court takes up a proposed
          limiting instruction re Government’s proposed exhibits 282 and 283; The Court will
          continue the discussion at 8:30 a.m. on 06/03/2022;
5:03      Recess;
TIME      DAY 3, Friday, June 3, 2022 (Court Reporters: Karen Dellinger and Elaine
          Hinson)
9:09      Court in session outside the presence of the jury; The Court takes up request for
          limiting instruction and Government’s Exhibits 282 and 283;
9:58      Recess;
10:09     Court back in session outside the presence of the jury;
10:10     Jury returned to jury trial;
10:11     Direct examination of Government Witness No. 1 continues; Government’s Exhibits
          282, 283, 333, 334, 335, 165, 166, 167, 168, 339, 189, 343, 346, 349, 358, 361, 348,
          351, 353, 354, 355, 356, 357, 362, 364, 365, 366, 367, 368, 369
11:54     Direct examination concludes;
11:55     Jury dismissed for lunch break
11:56     Court in session outside the presence of the jury
11:59     Recess;
1:20      Court back in session outside the presence of the jury; The parties stipulated to
          Defense Exhibits 1 and 2
1:23      Jury returned to jury box;
1:24      Cross examination of Witness No. 1 begins;
2:21      Cross examination concludes; Redirect examination begins;
2:37      Redirect examination concludes;
2:38      Recross examination begins;
2:38      Witness excused but remains under the rule;
2:39      Government calls Name No. 22 as Government Witness No. 2; Direct examination
          by Alex Morgan begins;
2:52      Jury dismissed for afternoon break;
2:53      Court in session outside the presence of the jury;
3:08      Recess
3:18      Court back in session outside the presence of the jury;
3:21      Jury returned to jury box;
3:21      Direct examination of Government Witness No. 2 continues; Government’s Exhibits
          4, 5, 9, 1, 2, and 3A-3J admitted;
3:44      Direct examination concludes; Cross examination begins
3:50      Cross examination concludes; Witness excused;
3:50      The government calls Name No. 11 as Government Witness No. 3; Direct
          examination by Stephanie Mazzanti begins; Government’s Exhibits 16, 17, 16a, 17a
          admitted;
3:57      Cross examination begins;
3:58      Cross examination concludes; Witness excused;
3:58      Government calls Name No. 13 as Government Witness No. 4; Direct Examination
          by Stephanie Mazzanti begins;
4:12      Direct examination concludes; No cross examination; Witness excused;


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4:15      The Court reads stipulations to jury; Government Exhibits 10a, 10b, 10c, 10d, and
          47;
4:19      Jury dismissed for the day to return on 06/06/2022;
4:20      Court in session outside the presence of the jury;
4:24      Recess
TIME      DAY 4, Monday, June 6, 2022 (Court Reporters: Teresa Hollingsworth and Karen
          Dellinger)
9:01      Court in session outside the presence of the jury; The court takes up stipulated
          exhibits – Government’s Exhibits 11, 11a, 11b, 11c, 18, 18a, 19a-19d, 20-22, 24-26,
          27, 28a, 28a1-28a4, 29a, 29a1-29a3, 32, 33a, 33a1, 33b, 33b1, 33c, 34, 34a-34d, 36d,
          39a-39c, 40a-40c, 41a, 41b, 42-45, 46, and 374a-374d admitted;
9:08      Jury returned to jury box; The Government calls Name No. 1 as Witness No. 5;
          Direct examination by Alex Morgan begins;
9:56      Direct examination concludes; Cross examination begins;
10:01     Cross examination concludes; No redirect examination; Witness excused but
          remains under the rule;
10:02     The Government calls Name No. 18 as Witness No. 6; Direct examination by
          Stephanie Mazzanti begins;
10:21     Direct examination concludes; Cross examination begins; Defense Exhibit 11
          admitted;
10:25     Cross examination concludes; Witness excused but remains under the rule;
10:26     Jury dismissed for morning break;
10:27     Court in session outside the presence of the jury;
10:27     Recess;
10:44     Court back in session outside the presence of the jury
10:45     Jury returned to jury box;
10:45     The government calls Name No. 21 as Witness No. 7; Direct examination by
          Stephanie Mazzanti;
11:02     Direct examination concludes; Cross examination begins;
11:04     Cross examination concludes; Witness excused but remains under rule;
          Government calls Name No. 20 as Witness No. 8; Direct examination by Stephanie
          Mazzanti begins;
11:15     Direct examination concludes; Cross examination begins; Defense exhibits 4, 5, and
          7 admitted;
11:25     Cross examination concludes; Witness excused;
11:26     The government calls Name No. 12 as Witness No. 9; Direct examination by
          Stephanie Mazzanti begins;
11:41     Direct examination concludes; Cross examination begins;
11:44     Cross examination concludes; Witness excused;
          The government calls Name No. 16 as Witness No. 10; Direct examination by
          Stephanie Mazzanti begins;
11:54     Direct examination concludes; Cross examination begins;
11:55     Cross examination concludes; Witness excused;
11:57     Jury dismissed for lunch break;
11:58     Court in session outside the presence of the jury;
11:59     Recess;

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1:07     Court back in session outside the presence of the jury; The Court takes up the
         government’s upcoming exhibits and defense witness that is unavailable for in
         person testimony and government’s upcoming witnesses; The government exhibits
         50, 51, 82, 126, 133, 136, 137, 139, 156, 157, 222, 223, 17b stipulated and admitted;
1:18     Jury returned to jury box;
1:19     The Government calls Name No. 2 as Witness No. 11; Direct examination by
         Stephanie Mazzanti begins;
1:45     Direct examination concludes; Cross examination begins;
1:49     Cross examination concludes; No redirect examination; Witness excused;
1:49     The government calls Name No. 17 as Witness No.12; Direct examination by
         Stephanie Mazzanti begins;
2:04     Direct examination concludes; Cross examination begins; Defense Exhibits 8 and 9
         admitted;
2:07     Cross examination concludes; No redirect examination; Witness excused;
2:08     Government calls Name No. 10 as Witness No. 13; Direct examination by Stephanie
         Mazzanti begins;
2:17     Direct examination concludes; Cross examination begins;
2:18     Cross examination concludes; Witness excused;
2:19     The government calls Name No. 4 as Witness No. 14; Direct examination by
         Stephanie Mazzanti begins;
2:37     Direct examination concludes; Cross examination begins;
2:38     Cross examination concludes; Witness excused;
2:40     Jury dismissed for afternoon break;
2:40     Court in session outside the presence of the jury;
2:40     Recess;
2:57     Court back in session outside the presence of the jury;
2:57     Jury returned to jury box;
2:58     The government calls Name No. 5 as Witness No. 15; Direct examination by Alex
         Morgan;
3:36     Direct examination concludes; Cross examination begins;
3:39     Cross examination concludes; Redirect examination begins;
3:45     The government calls Name No. 19 as Witness No. 16; Direct examination by
         Stephanie Mazzanti begins; Government Exhibit 33, 29, 28, and 30 admitted;
4:04     Direct examination concludes;
4:10     Jury dismissed for the day to return 06/07/2022;
4:10     Court in session outside the presence of the jury;
4:11     Recess;
4:26     Court back in session outside the presence of the jury; The Court takes up
         housekeeping matters regarding witnesses and jurors; Government Exhibits 49, 188,
         230, 55, 56, 57, 59, 83, 97, 101, 170, 173, 186, 209, 229, 202-206, 213-215, 117,
         128, 149, 150, 160, 60, 64, 66, 68, 70, 76, 78, 84, 89, 92, 94, 98, 102, 104, 108, 110,
         111, 115, 118-120, 125, 135, 140, 143, 145, 146, 151, 152, 171, 174, 176-180, 190,
         192-194, 199, 207, 210-211, 217-219, 221, 224, 227, 232, 234, 242, 226, 231, 99,
         106, 121, 153, 183, 212, 235, 161-163, 238, 164, 239 and 240 stipulated and
         admitted;
4:43     Recess;

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TIME      DAY 5, Tuesday, June 7, 2022 (Court Reporters: Karen Dellinger and Teresa
          Hollingsworth)
8:57      Court in session outside the presence of the jury; The Court takes up proposed
          instruction for upcoming witness;
9:06      Jury returned to jury box;
9:07      Cross examination of Witness No. 16 begins; Defense Exhibits 15-20 admitted;
10:03     Cross examination concludes; No redirect examination; Witness excused but
          remains under the rule;
10:04     The government calls Name No. 7 as Witness No. 17; Direct examination by Alex
          Morgan begins;
10:15     Direct examination concludes; Cross examination begins;
10:22     Cross examination concludes; No redirect; Witness excused;
10:23     The government calls Name No. 14 as Witness No. 18; Direct examination by
          Stephanie Mazzanti begins;
10:40     Direct examination concludes
10:41     Jury dismissed for morning recess;
10:42     Court in session outside the presence of the jury;
10:42     Recess;
11:03     Court back in session outside the presence of the jury;
11:05     Jury returned to jury box;
11:05     Cross examination of Witness No. 18 begins;
11:17     Cross examination concludes; Witness excused;
11:17     Government calls Name No. 15 as Witness No. 19; Direct examination by Stephanie
          Mazzanti begins;
11:33     Direct examination concludes; Cross examination begins; Defense exhibit 21
          admitted;
11:42     Cross examination concludes; Redirect examination begins;
11:44     Redirect examination concludes; Witness excused;
11:47     Jury dismissed for lunch break;
11:48     Court in session outside the presence of the jury; The Court takes up motion in limine
          in preparation of Witness No. 20;
12:21     Recess;
12:36     Court back in session; The Court continues discussing motion in limine issues;
12:53     Recess;
1:20      Court in session outside the presence of the jury;
1:29      Jury returned to jury box;
1:29      Government calls Name No. 3 as Witness No. 20;
1:31      Direct examination by Stephanie Mazzanti begins; Government Exhibits 49, 188,
          230, 55, 56, 57, 83, 97, 101, 170, 173, 186, 209, 229, 202, 203, 204, 205, 206, 213,
          214, 215, 117, 128, 149, 150, 160, 60, 64, 66, 68, 70, 76, 78, 84, 89, 92, 94, 98, 102,
          104, 108, 110, 111, 115, 118, 119, 120, 125, 135, 143, 145, 146, 151, 152, 171, 174,
          176, 179, 180, 190, 192, 193, 194, 199, 207, 210, 211, 217, 219, 221, 224, 227, 232,
          234, 242, 99, 106, 121, 153, 183, 212, 235, 343, 161, 163, 238, 164, 239, 337, 360,
          332, 170, 240, 355, 357
3:25      Jury dismissed for afternoon break;
3:26      Court in session outside the presence of the jury;

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3:27      Recess;
3:46      Court in session outside the presence of the jury;
3:47      Jury returned to box;
3:49      Cross examination of Witness No. 20 begins; Defense Exhibit 10, 25 admitted;
4:57      Jury dismissed for afternoon break;
4:57      Court back in session outside the presence of the jury;
4:58      Recess;
5:05      Court back in session outside the presence of the jury;
5:08      Jury returned to jury box;
5:11      Cross examination concludes; Witness excused but remains under the rule;
5:13      Jury dismissed for the day;
5:13      Court in session outside the presence of the jury;
5:15      Recess;
5:39      Court in session outside the presence of the jury; The Court holds preliminary jury
          instructions conference;
6:04      Recess;
TIME      DAY 6, Wednesday, June 8, 2022 (Court Reporters: Karen Dellinger and Teresa
          Hollingsworth)
9:09      Court in session outside the presence of the jury; Government Exhibits 376 and 377
          admitted; Defense Exhibits 31-41
9:15      Jury returned to jury box
9:16      Government calls Name No. 9 as Witness No. 21; Direct examination by Alex
          Morgan begins; 79, 85, 90, 105, 112, 6, 6a, 6b, 7, 7a
10:34     Jury dismissed for morning break;
10:35     Court in session outside the presence of the jury;
10:35     Recess
10:54     Court back in session outside the presence of the jury;
10:55     Jury returned to jury box;
10:56     Direct examination of Witness No. 21 continues; Government Exhibits 23, 45a, 13,
          12, 15, 14, 8
12:32     Jury dismissed for lunch break;
12:34     Court in session outside the presence of the jury;
12:36     Recess;
1:54      Court back in session outside the presence of the jury;
1:55      Jury returned to jury box;
1:56      Cross examination of Witness No. 21 begins;
2:48      Cross examination concludes; Redirect examination begins;
2:58      Redirect examination concludes; Recross begins;
3:01      Recross concludes; Redirect begins;
3:03      Redirect concludes; Recross begins
3:03      Recross concludes; Government rests;
3:04      Jury dismissed for afternoon recess;
3:05      Court in session outside the presence of the jury;
3:05      Recess
3:18      Court in session outside the presence of the jury; The defendant moves for judgment
          of acquittal on all counts;

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3:34      The government responds to defendant’s motion for judgmental of acquittal;
3:51      The Court denies the motion in open court; The Court discusses defendant’s right to
          testify;
3:57      Recess
4:18      Court in session outside the presence of the jury; The Court takes up stipulated
          Defense Exhibits;
4:23      Jury returned to box;
4:24      The defense calls Name No. 5 as Witness No. 1; Direct examination begins; Defense
          Exhibit 42
4:33      Direct examination concludes; Cross examination begins;
4:41      Cross examination concludes; Redirect examination begins;
4:41      Redirect examination concludes; Witness excused;
4:42      Defense reads stipulation to jury;
4:43      Defense rests; No rebuttal;
4:47      Jury dismissed to return on 06/09/2022
4:48      Court in session outside presence of the jury;
4:50      Recess;
5:10      Court back in session; The Court holds jury instructions conference; The defendant
          renews motion, government renews response; the Court denies the motion;
7:38      Recess;
TIME      DAY 7, Thursday, June 9, 2022 (Court Reporters: Teresa Hollingsworth and
          Elaine Hinson)
9:02      Court in session outside the presence of the jury; The Court takes up the jury
          instructions that were taken under advisement;
9:26      Recess;
9:48      Court back in session; The Court makes a ruling regarding instructions that were
          taken under advisement;
9:50      Recess;
10:03     Court back in session outside the presence of the jury; The Court holds jury
          instructions conference;
10:10     Recess;
10:18     Court back in session outside the presence of the jury;
10:19     Jury returned to jury box; The Court reads jury instructions
11:21     Government begins closing arguments;
1:05      Jury dismissed for break;
1:06      Court in session outside the presence of the jury;
1:07      Recess;
1:24      Court back in session outside the presence of the jury;
1:26      Jury returned to jury box;
1:27      Defense begins closing arguments;
2:51      Defense counsel concludes with closing arguments
2:56      Government begins rebuttal closing arguments;
3:28      CSO sworn;
3:29      Jurors retire for deliberations;
3:30      Court in session outside the presence of the jury;
3:34      Recess;

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3:55     Court back in session outside; Courtroom Deputy explains what occurred while
         escorting the alternate juror to grab things from jury deliberations
4:00     Recess
6:23     Court notified that jury reached a verdict;
6:34     Court in session outside the presence of the jury;
6:36     Jury returned to jury box;
6:38     Guilty Verdicts on Counts 1, 2, 4, 5, 6, 7, 8, 9, 11, 12, 13, 14, 16, 17, 18, 19, 35, 36,
         37, 38, 39, 40, published
6:46     Jury polled;
7:08     Jury dismissed from further service;
7:09     Court in session outside the presence of the jury;
7:10     Court adjourned.




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